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                                  UNITED STATES DISTRICT COURT
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                                 WESTERN DISTRICT OF WASHINGTON
                                           AT TACOMA
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        GAVEN PICCIANO,                                     CASE NO. 3:20-cv-06106-DGE
11
                                 Plaintiff,                 MINUTE ORDER
12              v.
13      CLARK COUNTY, CLARK COUNTY
        JAIL, WELLPATH, LLC, and
14      NAPHCARE, INC.,
15                               Defendants.

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17          The following Minute Order is made by direction of the Court, United States District

18   Judge David G. Estudillo:

19          On May 23, 2022, the Court issued its Order on Defendant’s Motion to Dismiss. (Dkt.

20   No. 60.) Plaintiff moved for reconsideration on June 6, 2022. (Dkt. No. 61.) Defendants who

21   wish to file a response to Plaintiff’s Motion for Reconsideration must do so by July 15, 2022.

22          Dated this 1st day of July 2022.

23          The foregoing Minute Order authorized by THE HONORABLE DAVID G.

24   ESTUDILLO, UNITED STATES DISTRICT JUDGE.

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     MINUTE ORDER - 1
